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                       7                                     UNITED STATES BANKRUPTCY COURT
                                                                FOR THE DISTRICT OF NEVADA
                       8
                              In re:                                                        Case No.: 24-13181-hlb
                       9                                                                    Chapter: 11
                              VARALUZ, LLC,
                     10
                                                 Debtor,
                     11                                                                     Hearing Date: November 6, 2024
                                                                                            Hearing Time: 2:30 p.m.
                     12
                                  NOTICE OF HEARING ON MOTION PURSUANT TO FED. R. BANKR. P. 9019 TO
                     13            AUTHORIZE AND APPROVE SETTLEMENT BETWEEN VARALUZ, LLC AND
                                   MEGED FUNDING GROUP CORP., MOSHE LUDMIR AKA MOSHE LUD, AND
                     14                                  MARC ZIMBERG
                     15                  NOTICE IS HEREBY GIVEN that the Motion Pursuant to Fed. R. Bankr. P. 9019 to
                     16       Authorize and Approve Settlement Between Varaluz, LLC and Meged Funding Group Corp.,
                     17       Moshe Ludmir aka Moshe Lud, and Marc Zimberg (the “Motion”)1 was filed by Varaluz, LLC
                     18       (the “Debtor”) in the above-captioned case. Through the Motion, the Debtor requests the Court
                     19       enter an order approving the Settlement Agreement, substantially in the form attached as Exhibit
                     20       2 to the Motion.
                     21                  NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief sought
                     22       in the Motion, or if you want the court to consider your views on the Motion, then you must file
                     23       an opposition with the court, and serve a copy on the person making the Motion no later than 14
                     24       days preceding the hearing date for the Motion, unless an exception applies (see Local Rule
                     25       9014(d)(3)).        The opposition must state your position, set forth all relevant facts and legal
                     26       authority, and be supported by affidavits or declarations that conform to Local rule 9014(c).
                     27
                              1
                     28           Capitalized terms not otherwise defined herein shall have those meanings ascribed to them in the Motion.

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                       1            If you object to the relief requested, you must file a WRITTEN response to this
                                    Pleading with the court. You must also serve your written response on the person
                       2            who sent you this notice.
                       3
                                    If you do not file a written response with the court, or if you do not serve your
                       4            written response on the person who sent you this notice, then:

                       5                    The court may refuse to allow you to speak at the scheduled hearing; and
                       6                    The court may rule against you without formally calling the matter at the
                       7                     hearing.

                       8               NOTICE IS FURTHER GIVEN that copies of the Motion and any supporting

                       9      declarations are available by contacting Talitha Gray Kozlowski, Esq. at the email address set forth

                     10       above,    through    the   Bankruptcy    Court’s   electronic   docketing   system   (PACER)      at

                     11       www.ecf.nvb.uscourts.gov, or at the Bankruptcy Court’s Clerk’s Office, located at the Foley

                     12       Federal Building, 300 Las Vegas Blvd., South, Las Vegas, Nevada, 89101.

                     13                NOTICE IS FURTHER GIVEN that pursuant to Administrative Order 2020-14, all

                     14       hearings are currently being held telephonically absent further order of the Court. The hearing

                     15       will be held on November 6, 2024, at the hour of 2:30 p.m. Parties are permitted to appear

                     16       telephonically by dialing (833) 435-1820 and entering meeting ID (if applicable): 160 532 0260

                     17       and entering access code or passcode 643758#.

                     18                If you intend to participate at this hearing, please check the Court’s website prior to the

                     19       hearing for any updated instructions relating to the court participation number and access code.

                     20       You may view the Court Calendar at: http://www.nvb.uscourts.gov/calendars/court-calendars/.

                     21       Select the hearing judge. Next click on the “calendar date” to view the hearing judge’s dial-in

                     22       number and meeting access codes.

                     23                Dated this 13th day of September, 2024.

                     24                                                     GARMAN TURNER GORDON LLP

                     25
                                                                            By: /s/ Talitha Gray Kozlowski
                     26                                                        TALITHA GRAY KOZLOWSKI, ESQ.
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